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Memorandum of Agreement
Regarding Independent Medical Examinations in the Pending Causes:

Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al. USDC Billings Division 20-CV-52-SPW-TJC

AND

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of New
York, Inc., et al. USDC Billings Division 20-CV-59-SPW-TJC

Defendants Watchtower Bible and Tract Society of New York, Inc.
(hereinafter “WINY”), and Watch Tower Bible and Tract Society of Pennsylvania
(hereinafter “WTPA”) (hereinafter collectively “Defendants”), have requested that
Plaintiffs Tracy Caekaert, Camillia Mapley, Ariane Rowland, and Jamie Schulze
(hereinafter collectively “Plaintiffs”) submit to Rule 35, Fed. R. Civ. P., mental
examinations with Michael Biitz, Ph.D., who Defendants expect will assist the
triers of fact in determining the existence, nature, and extent of the psychological
conditions Plaintiffs have placed at issue in the above causes of action by claiming
injuries and damages secondary to various instances of childhood sexual abuse.

The parties stipulate as a threshold matter that Dr. Biitz is a suitably licensed
and certified examiner to conduct the subject mental examinations. The parties
further stipulate as a threshold matter that there is “good cause” within the meaning
of Rule 35(a)(2)(A), Fed. R. Civ. P., for the subject mental examinations to occur.
Plaintiffs reserve the right to challenge Dr. Biitz as a witness and any part of his
examination reports in later briefing or at trial.

Pursuant to Rule 35(a)(2)(B), Fed. R. Civ. P., the parties stipulate that the
subject mental examinations will occur subject to the following time, place,
manner, conditions, and scope:

1. Ariane Rowland’s mental examination will occur at a time to be agreed to
by the parties at the offices of Dr. Blitz located at the Transwestern |
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

2. Jamie Rowland’s mental examination will occur at a time to be agreed to
by the parties at the offices of Dr. Btitz located at the Transwestern |
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

EXHIBIT

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3. Tracy Caekaert’s mental examination will occur at a time and place to be
agreed to by the parties in Littlerock, Arkansas or, alternatively, at the
offices of Dr. Biitz located at the Transwestern 1 Building, 404 North
31st Street, Suite 202 in Billings, Montana, if Ms. Caekaert is healthy
enough to travel. Dr. Biitz has specifically agreed to become
appropriately licensed and certified to conduct Ms. Caekaert’s mental
examination within the state of Arkansas, if necessary, as part of this
agreement.

4. Camillia Mapley’s mental examination will occur at a time and place to
be agreed to by the parties at the offices of Dr. Btitz located at the
Transwestern | Building, 404 North 31st Street, Suite 202 in Billings,
Montana, or, alternatively, in Mansfield, VIC, Australia. Dr. Biitz has
specifically agreed to become appropriately licensed and certified to
conduct Ms. Mapley’s mental examination in Mansfield, VIC, Australia,
if necessary, as part of this agreement.

5. As to each of the subject mental examinations, the manner, conditions,
and scope have been set forth in Dr. Biitz’s letters dated April 25, 2023,
and May 26, 2023, which are attached hereto as Exhibits XX and XX and
are incorporated herein by reference. Dr. Biitz has also provided a list of
general categories of testing in his letter dated July 17, 2023, which is
attached hereto as Exhibit XX and is incorporated herein by reference.
The parties generally understand that the scope of the subject
examinations will be to determine the existence, nature, and extent of the
psychological conditions Plaintiffs have placed at issue in the above
causes of action by claiming injuries and damages secondary to various
instances of childhood sexual abuse.

6. Dr. Btitz agrees to keep and provide Plaintiffs’ counsel an account of the
testing administered to each Plaintiff. The account shall include, at a
minimum, the specific name and version of the test given, the time that
the administration of each test started and stopped, and the time and
duration of breaks in testing. Dr. Btitz will not be required to time stamp
any recording as part of the assessment process.

7. As to recordation, the parties agree that Dr. Butz shall audio record from
the moment an examinee begins interacting with Dr. Bititz until the
conclusion of the history and mental status interview portions of the
examinations. No party will be authorized to send a representative to

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attend any portion of the examinations, nor will an audio recording be
made of the testing portions of the examinations. The subject recordings
will be automatically subject to the Stipulated Protective Orders (Doc.
110-1 in Caekaert/Mapley; Doc. 99-1 in Rowland/Schulze). It is further
agreed that recordation will be conducted in keeping with Dr. Btitz’s
Authorization for Audio/Visual Recording (see attached Exhibit XX).

8. As to the expert reports to be generated by Dr. Biitz, such reports will be
automatically subject to the Stipulated Protective Orders (Doc. 110-1 in
Caekaert/Mapley; Doc. 99-1 in Rowland/Schulze).

The parties dispute, and do not stipulate to, the conditions of the subject
mental examinations set forth in parts 9-14 below. Such disputes notwithstanding,
the parties stipulate the subject mental examinations will proceed concurrently
with the below disputes being submitted to the Court for resolution.

9. Defendants and Dr. Biitz contend the subject mental examinations must
occur in person within the United States District Court for the District of
Montana, Billings Division, where Plaintiffs filed suit. To the extent any
of the subject mental examinations cannot occur within the Billings
Division due to circumstances personal to the Plaintiff(s), Defendants and
Dr. Biitz contend Plaintiffs must bear all additional costs associated with
Dr. Biitz’s travel outside of the Billings Division to complete the subject
mental evaluations in person. This includes the costs associated with Dr.
Biitz obtaining the required certification(s) to conduct the subject mental
examination(s) within the venue(s) at issue, all travel costs, and Dr.
Biitz’s time in transit at his regular rate of pay.

10.Plaintiffs Tracy Caekaert and Camillia Mapley contend their travel to the
Billings Division for the purpose of completing the subject mental
examinations is not necessary and is unduly burdensome under the
circumstances. Plaintiffs contend Defendants should bear all costs
associated with Dr. Biitz’s mental evaluations of the Plaintiffs because
remote forensic evaluations are available to them and are adequate under
the circumstances.

11.Defendants and Dr. Biitz have proposed the following conditions
considering the handling and treatment of Dr. Biitz’s test raw data in the
above pending causes:

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a. In the authorizations completed by the Plaintiffs’ parties
individually, the Authorization for Forensic Psychological
Assessment: Informed Consent & Fee Agreement, attached as
Exhibits XXX-XXX, specifically describes Dr. Btitz’s long-held
policy on the handling and management of test raw data and
copywritten materials from test vendors. As part of this agreement,
Dr. Biitz has specifically agreed that his test raw data will only be
transmitted to Plaintiffs’ expert Dr. Jonathan D. Bone. Further, at
no point will Dr. Biitz be requested to release copywritten forms
for psychological instruments/tests as this would violate his user
agreements with various instrument/test vendors.

12.Plaintiffs have proposed the following language considering the handling
and treatment of Dr. Biitz’s test raw data in the above pending causes:

a. Dr. Butz’s report shall include a data sheet that identifies the tests
given, with a corresponding score and T score/percentile rank for
each such test. Furthermore, Defendants and Dr. Bitz
acknowledge and agree that to the extent Dr. Biitz relies on the raw
testing data for his opinions in this case, while such data is only
being provided to Plaintiffs’ retained expert Dr. Bone, Plaintiffs’
counsel and retained expert Dr. Trent Holmberg shall be permitted
to discuss and reference the raw testing data provided to Dr. Bone
for the purpose of this litigation.

13.Defendants and Dr. Biitz have proposed the following language
considering the issue of Plaintiffs’ potential disclosure of attorney-client
privilege communications during the subject mental examinations:

a. As to attorney-client privilege, Dr. Biitz will not ask any questions
during the subject mental examinations intended to elicit responses
from Plaintiffs concerning privileged communications with their
counsel, law firm staff, or consultants. In the event of an
inadvertent disclosure of attorney-client privileged information
within the meaning of Rule 502(b), Fed. R. Evid., Plaintiffs’
counsel shall follow the procedure set forth in subsection (3) and
promptly meet and confer with counsel for Defendants. In the
event the parties cannot agree as to the proper procedure/remedy,
Plaintiffs shall promptly file a motion requesting the assistance of
the Court.

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14.Plaintiffs have proposed the following language considering the issue of
Plaintiffs’ potential disclosure of attorney-client privilege
communications during the subject mental examinations:

a. As to attorney-client privilege, Dr. Biitz will not ask any questions
during the subject mental examinations intended to elicit responses
from Plaintiffs concerning privileged communications with their
counsel, law firm staff, or consultants. Plaintiffs’ counsel will
instruct the Plaintiffs not to voluntarily divulge the contents of any
such privileged communications. However, it is further
acknowledged that for the purpose of the examinations Dr. Biitz is
a retained representative of the Defendants and the Plaintiffs are
not trained in identifying questions that may elicit a privileged
communication. Therefore, if a Plaintiff unintentionally or
inadvertently discloses a privileged communication during her
exam, the privilege shall be maintained and any such
communications shall be stricken from the record of the mental
examination.

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